         Case 1:21-cr-00237-RDM Document 147 Filed 09/21/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
                v.                                    :       Case No. 21-CR-237-2 (RDM)
                                                      :
MATTHEW LELAND KLEIN,                                 :
                                                      :
                        Defendant.                    :


                                     JOINT STATUS REPORT

        The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, and defendant Matthew Leland Klein, by and through his attorney

Eugene V. Gorokhov, Esq. provide this Joint Status Report to the Court.

                1.      On July 26, 2023, upon consideration of the parties’ Joint Status Report

filed on July 25, 2023, Doc. 144, the Court directed the parties to file a further joint status report

on or before September 26, 2023. The Court also tolled the defendants’ Speedy Trial rights in the

interest of justice from July 26, 2023 through September 26, 2023. See 7/26/23 Minute Order.

                2.      Since filing the last Joint Status Report, the government has continued to

provide global discovery to the defendants in the Capitol Riot related cases.

                3.      It is the government’s position that, at present, the case specific materials

discoverable at this time have been tendered and/or made available to the defendants. The

government will continue to produce such items as they become available.

                4.      The parties have met and conferred and are engaged in discussions to

potentially resolve this case pre-trial.

                5.      In addition, given the volume of discovery that has been and is expected to

be produced, the defendants need additional time to meaningfully review such discovery and
         Case 1:21-cr-00237-RDM Document 147 Filed 09/21/23 Page 2 of 2




determine how best to proceed in this matter, including making decisions regarding the filing of

pretrial motions.

               6.      The parties request that the Court set this matter for an additional Joint

Status Report to be filed on or before December 22, 2023.

               7.      The parties agree that time should be excluded under the Speedy Trial Act

from September 26, 2023 through December 22, 2023, in the interests of justice for the reasons

previously provided by the Court.

               8.      The defendant is not in pretrial custody and this request for additional time

is not made for the purposes of causing unnecessary delay.

               9.      The undersigned Assistant U.S. Attorney has received permission from

counsel for the defendant to file this Joint Status Report.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               DC Bar No. 481052

                                       By:     /s/ Katherine E. Boyles
                                               Katherine Boyles
                                               Assistant United States Attorney
                                               United States Attorney’s Office
                                               601 D Street NW
                                               Washington, D.C. 20001
                                               D. Conn. Fed. Bar No. PHV20325
                                               Katherine.Boyles@usdoj.gov
                                               Phone: 203-931-5088




                                                  2
